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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON,

           Plaintiff,
                                        Case No. 1:19-cv-1552 (ABJ)
  v.

U.S. DEPARTMENT OF JUSTICE,

           Defendant.


       DEFENDANT’S MOTION FOR A PARTIAL STAY PENDING APPEAL
                   AND MEMORANDUM IN SUPPORT
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                                        INTRODUCTION

       We respectfully seek a stay pending appeal of this Court’s order, but only insofar as it

requires the release of Section II of Document no. 15—also referred to as the March 2019

Memorandum. The government has determined not to appeal this Court’s decision insofar as it

ordered the release of the entirety of the first page of Document no. 15 and Section I of the

document. Accordingly, this Court’s memorandum opinion, which discusses those previously

redacted portions of the document, may be unsealed in its entirety.

       As discussed below, the standards for a stay pending appeal are satisfied here. The

irreparable harm that would be caused by the release of the redacted portions of the document is

manifest, as it would render moot the government’s appeal and require the release of the

deliberative material in Section II of the memorandum. On the merits, the Court’s decision was

substantially premised on the view that the government’s briefs and declarations incorrectly

described the nature of the decisional process in which the Attorney General was engaged. In

retrospect, the government acknowledges that its briefs could have been clearer, and it deeply

regrets the confusion that caused. But the government’s counsel and declarants did not intend to

mislead the Court, and the government respectfully submits that imprecision in its characterization

of the decisional process did not warrant the conclusion that Document no. 15 was unprotected by

the deliberative process privilege. Nor does it warrant the conclusion here that the distinct

deliberative material in Section II of that document is unprotected.

       Simultaneously with this motion, the government is filing a notice of appeal, as authorized

by the Office of the Solicitor General. In the event that this Court is inclined to deny this motion,

the government respectfully requests that this Court make clear that disclosure of Section II is not

required before the court of appeals acts on the stay motion that the government intends to prepare

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and file in that court in the event that this Court denies relief.

                                            STATEMENT

        This Freedom of Information Act (FOIA) case arises out of a FOIA request that plaintiff,

Citizens for Responsibility and Ethics in Washington (CREW), submitted to the Office of Legal

Counsel (OLC), seeking “all documents pertaining to the views OLC provided Attorney General

William Barr on whether the evidence developed by Special Counsel Robert Mueller is sufficient

to establish that the President committed an obstruction-of-justice offense.” Colborn Decl. (ECF

No. 15-3), Ex. B at 1. With its response to plaintiff’s request, the Department of Justice (DOJ)

released in redacted form the March 2019 Memorandum, a memorandum to the Attorney General

from OLC Assistant Attorney General (AAG) Steven Engel and Principal Associate Deputy

Attorney General (PADAG) Edward O’Callaghan. Colborn Decl. ¶ 17; Brinkmann Decl. (ECF

No. 15-4) ¶¶ 7, 11. DOJ’s declarants attested that Document no. 15 memorialized Engel’s and

O’Callaghan’s “candid analysis and legal advice” provided to the Attorney General “prior to his

final decision,” Brinkmann Decl. ¶ 11, on the central issue addressed in the memorandum: whether

the evidence described in the Special Counsel’s Report “would support initiating or declining the

prosecution of the President for obstruction of justice under the Principles of Federal Prosecution,”

Colborn Decl. ¶ 17 (quoting Document no. 15 at 1); see also 2d Colborn Decl. (ECF No. 19-1)

¶ 9; Brinkmann Decl. ¶¶ 7, 11.

        On May 3, 2021, the Court determined that Document no. 15 “is not predecisional, and it

may not be withheld under Exemption 5 on the basis of the deliberative process privilege.” Mem.

Op. (ECF No. 27) (Op.) 28. Accordingly, that same day, the Court ordered DOJ to “produce

Document 15 to plaintiff,” Order (ECF No. 26) 1, and further directed that DOJ “must file any

motion to stay this order by May 17, 2021, and it must inform the Court at that time of its position

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on whether the Memorandum Opinion may be unsealed in its entirety.” 1

         As noted above, the government has determined not to appeal the Court’s decision insofar

as it orders the release of the entirety of the first page of Document no. 15 and Section I of the

document. A copy of Document no. 15 reflecting that release is attached as Exhibit A. With the

release of page 1 and Section I, the sealed portions of the Court’s Memorandum Opinion may now

be unsealed.

                                    STANDARD OF REVIEW

         A party seeking a stay pending appeal must show that four factors weigh in favor of a stay:

“(1) the likelihood that the party seeking the stay will prevail on the merits of the appeal; (2) the

likelihood that the moving party will be irreparably harmed absent a stay; (3) the prospect that

others will be harmed if the court grants the stay; and (4) the public interest in granting the stay.”

Cuomo v. U.S. Nuclear Regulatory Comm’n, 772 F.2d 972, 974 (D.C. Cir. 1985) (per curiam). See

also Nken v. Holder, 556 U.S. 418, 434-435 (2009); Winter v. Natural Res. Def. Council, Inc., 555

U.S. 7, 22 (2008).

         “A party does not necessarily have to make a strong showing with respect to the first factor

(likelihood of success on the merits) if a strong showing is made as to the second factor (likelihood

of irreparable harm).” Dunlap v. Presidential Advisory Comm’n on Election Integrity, 319 F.

Supp. 3d 70, 83 (D.D.C. 2018) (citing Cuomo, 772 F.2d at 974). Furthermore, “courts often recast

the likelihood of success factor as requiring only that the movant demonstrate a serious legal

question on appeal where the balance of harms strongly favors a stay.” Al-Anazi v. Bush, 370 F.

Supp. 2d 188, 193 n.5 (D.D.C. 2005) (citations omitted); see also Cigar Ass’n of Am. v. U.S. Food

& Drug Admin., 317 F. Supp. 3d 555, 560–61 (D.D.C. 2018) (“[T]he ‘sliding scale’ framework


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    This Court subsequently extended the deadline to May 24, 2021. May 14, 2021 Minute Order.
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allows a movant to remedy a lesser showing of likelihood of success on the merits with a strong

showing as to the other three factors, provided that the issue on appeal presents a ‘serious legal

question’ on the merits.” (quoting Wash. Area. Metropolitan Transit Comm’n v. Holiday Tours,

Inc., 559 F.2d 841, 844 (1977)).

                                          ARGUMENT

I.     THE GOVERNMENT WILL SUFFER IRREPARABLE INJURY IF A STAY IS
       NOT GRANTED.

       In the absence of a stay, DOJ will immediately be required to disclose Section II of

Document no. 15 prior to having an opportunity to appeal the Court’s May 3 Order. The

irreparable harm that would result is manifest. Where, as here, an order directs an agency to

produce material that the agency argues is legally exempt from disclosure, compliance with the

order “mak[es] the issue . . . effectively moot.” In re Sealed Case (Medical Records), 381 F.3d

1205, 1210 (D.C. Cir. 2004) (quoting United States v. Philip Morris Inc., 314 F.3d 612, 619 (D.C.

Cir. 2003)). That is because compliance “let[s] the cat out of the bag, without any effective way

of recapturing it if the district court’s directive [is] ultimately found to be erroneous.” Judicial

Watch, Inc. v. DOJ, 432 F.3d 366, 369 (D.C. Cir. 2005) (quoting Irons v. FBI, 811 F.2d 681, 683

(1st Cir. 1987)). The government’s appeal from the Order thus “will become moot” if DOJ

“surrender[s]” Document no. 15 in its entirety, because the ordered release would cause

“confidentiality [to] be lost for all time[,]” thereby “utterly destroy[ing] the status quo[.]”

Providence Journal Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979). The resulting harm to DOJ

would thus be “irreparabl[e].” Id.

       For that reason, “[p]articularly in the FOIA context, courts have routinely issued stays

where the release of documents would moot a defendant’s right to appeal.” People for the Am.

Way Found. v. U.S. Dep’t of Educ., 518 F. Supp. 2d 174, 177 (D.D.C. 2007) (citation omitted);
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see also John Doe Agency v. John Doe Corp., 488 U.S. 1306, 1308-09 (1989) (Marshall, J., in

chambers) (staying FOIA disclosure order of lower court pending disposition of certiorari petition

where, inter alia, “fact that disclosure would moot that part of the [challenged] decision requiring

disclosure of the Vaughn index would also create an irreparable injury”); Ctr. for Int’l Envt’l Law

v. Office of U.S. Trade Rep., 240 F. Supp. 2d 21, 23 (D.D.C. 2003); Ctr. for Nat’l Sec. Studies v.

DOJ, 217 F. Supp. 2d 58, 58 (D.D.C. 2002). If the government is required to disclose Section II

of Document no. 15, its right to a meaningful appeal will be lost, and the status quo cannot be

restored. The harm from compliance with the Order to produce Section II thus would be both

significant and irreparable.

II.    AN APPEAL WOULD PRESENT A SERIOUS LEGAL QUESTION ON WHICH
       DOJ IS LIKELY TO SUCCEED.

       The government is also likely to succeed on appeal because Section II of Document no. 15

memorializes deliberative and predecisional advice to the Attorney General regarding the

substantive question of whether the evidence contained in the Special Counsel’s Report would

support initiating or declining a prosecution under the Principles of Federal Prosecution. The

Court based its contrary conclusion on the view that the government’s briefs and declarations

misdescribed the nature of the decisional process in which the Attorney General was engaged, and

that a memorandum prepared contemporaneously with a “decision” cannot be “predecisional.”

But the latter conclusion is contrary to governing law, and the government respectfully submits

that the former reflects a misunderstanding of the arguments the government was intending to

make. Those arguments accurately described how the redacted portions of the March 2019

Memorandum were predecisional and deliberative. And read as a whole, the evidence in the

record—which includes the memorandum—demonstrates that Section II of Document no. 15 is

covered by the deliberative process privilege because it is both deliberative and predecisional.
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       A. Section II provided advice in the context of a decisional process.

       The Court first held that Document no. 15 could not be accurately described as pre-

“decisional” because the Court’s “review of the document reveals that the Attorney General was

not . . . engaged in making a decision about whether the President should be charged with

obstruction of justice” at the relevant time. Op. 19. 2 In other words, the Court understood the

government’s briefs and declarations to be characterizing the decision that the Attorney General

was making as a decision whether to actually commence an indictment or prosecution of the

President, and further understood that characterization as inconsistent with the memorandum itself.

To be clear, the government agrees that the Attorney General was not making a decision about

whether to indict or prosecute, and we regret language that was imprecise in the government’s

brief and the confusion it has caused. Rather, the declarations and briefs on the whole made clear

that the decision in question was whether the facts articulated by Volume II of the Special

Counsel’s Report were sufficient to establish that the President had committed obstruction of

justice, i.e., whether the facts constituted prosecutable conduct under the Principles of Federal

Prosecution. Compare Colborn Decl. ¶ 17 with Op. 24.

        While a decision whether to actually commence a prosecution, and a decision as to

whether the evidence would be sufficient to establish a basis to prosecute, may be closely related,

and while both involve assessments that are “prosecutorial” in nature, they are not one and the

same. The Attorney General could seek advice on and decide whether the conduct in question met

the legal standard for an offense and DOJ standards for bringing a prosecution under the Principles

of Federal Prosecution, notwithstanding that an actual criminal prosecution was foreclosed by the



2
  The Court already found that DOJ satisfactorily demonstrated that Document no. 15 is
deliberative. See Op. 17.
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prior OLC opinion. And because the existence of the OLC opinion foreclosing prosecution was

widely known and acknowledged in both the Mueller Report and Attorney General Barr’s

contemporaneous letter to Congress, the government had no reason to suggest (and certainly did

not mean to suggest) that a decision whether to bring an actual criminal prosecution was in play.

Accordingly, given the decision the Attorney General was making⸺whether the facts constituted

an offense that would warrant prosecution⸺the decisional process was privileged, just as it would

have been if the Attorney General had been deciding whether to actually commence a prosecution.

       Plaintiff contended in its briefing that the Attorney General did not have a genuine decision

to make. Pl.’s Mem. in Supp. of Cross-Mot. For Summ. J. (ECF No. 17-1) (Pl.’s Mem.) at 15-16.

That is incorrect. The Attorney General was electing to make a decision that was explicitly left

open by the Special Counsel: whether, in “a prosecutor’s judgment[,] . . . crimes were committed”

based on “the conduct [the Special Counsel] investigated under the Justice Manual standards

governing prosecution and declination decisions.” Special Counsel Robert S. Mueller III, Report

on the Investigation into Russian Interference in the 2016 Election, Vol. II, 2 (2019) (Mueller

Report, Vol. II), available at https://www.justice.gov/storage/report_volume2.pdf; see also id. at 1

(citing A Sitting President’s Amenability to Indictment and Criminal Prosecution, 24 Op. O.L.C.

222, 222, 260 (2000)). The Attorney General’s determination on that point—and on what, if

anything, to say to the public about that question—undoubtedly qualifies as a decision, even if it

could not have resulted in an actual prosecution of the sitting President. See Colborn Decl. ¶ 23.

There was no legal bar to determining that the evidence did or did not establish commission of a

crime, a determination the Attorney General made and announced.

       In refuting the point that the Attorney General had nothing to decide, we did not mean to

suggest that the Attorney General was deciding whether to commence an indictment or prosecution

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of the sitting President. As plaintiff correctly pointed out, that option was foreclosed for reasons

having nothing to do with the allocation of responsibility between the Special Counsel and the

Attorney General, based on DOJ’s longstanding view that the sitting President was constitutionally

immune from prosecution. We regret that we did not make this distinction clearer in our briefing.

And we trust that the government’s release of page 1 and Section I of Document no. 15, which

include three references to the constitutional barrier, will dispel any remaining confusion on this

point.      Regardless of the constitutional barrier, however, the advice in Section II of the

memorandum regarding whether the evidence was sufficient to warrant a prosecution for

obstruction of justice contributed to a real decisional process that the deliberative process privilege

protects.

         B. Document no. 15 was pre-decisional because it was memorializing advice provided
            during the course of a decisionmaking process.

         The Court additionally held that Document no. 15 was not “pre”-decisional because it was

drafted contemporaneously with the preparation of the Attorney General’s letter to Congress and

was not finalized until after that letter was finalized. Op. 27. The government respectfully submits

that that holding, based on the Court’s review of redacted emails released by DOJ to plaintiff,

misapplies the governing law and disregards the government’s October 7, 2020 declaration

addressing the timing of the decision.

         As the Supreme Court recently explained, “[t]o decide whether a document communicates

the agency’s settled position,” as opposed to predecisional deliberations, “courts must consider

whether the agency treats the document as its final view on the matter” or whether, instead, the

document “leaves agency decisionmakers ‘free to change their minds.’” Fish & Wildlife Service

v. Sierra Club, Inc., 141 S. Ct. 777, 786 (2021). One relevant factor in determining whether a

document is predecisional is whether the author possesses the legal authority to decide the matter
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at issue. See, e.g., Electronic Frontier Found. v. DOJ, 739 F.3d 1, 9 (D.C. Cir. 2014) (“OLC is

not authorized to make decisions about the FBI’s investigative policy, so the OLC Opinion cannot

be an authoritative statement of the agency’s policy.”). Another is whether the document is

directed from a subordinate to a superior official or the opposite. See, e.g., Brinton v. Department

of State, 636 F.2d 600, 605 (D.C. Cir. 1980) (“‘[F]inal opinions[]’ . . . typically flow from a

superior with policy-making authority to a subordinate who carries out the policy.”).

       Here, the relevant factors point uniformly to the conclusion that this memorandum

contained advice to the Attorney General on a decision; it did not state or memorialize a final

decision already reached. Nothing on the face of Document no. 15 suggests that it was

memorializing a decision already rendered. To the contrary, the memorandum presented the

Attorney General with options to approve or disapprove the recommendation that it offered, and

in two places—in the now unredacted portion of the first paragraph on page 1, and on page 5,

which DOJ continues to withhold in full—the document makes clear that it reflects advice

previously offered to the Attorney General. And the predecisional nature of the advice

memorialized in Document no. 15 is confirmed by the two declarations of Paul P. Colborn. The

first states that the memorandum “was provided prior to the Attorney General’s decision in the

matter” and contained “advice and analysis supporting a recommendation regarding the decision

he was considering.” Colborn Decl. ¶ 21. The second declaration clarifies that Document no. 15

itself was not presented to or signed by the Attorney General until after the March 24 letter was

sent to Members of Congress. But the second declaration also explains “that prior to making his

decision and sending the letter, the Attorney General had received the substance of the advice

contained in [the memorandum] and reviewed multiple drafts of that memorandum,” and that

“[t]he substance of the advice contained in [the memorandum] did not change in any material way

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between the time when the Attorney General last received a draft of the memorandum and the time

the Attorney General initialed the approval box on the signed final form of the memorandum.” 2d

Colborn Decl. ¶ 9.

       The Court’s holding that Document no. 15 was not predecisional relies exclusively on the

timing of that memorandum’s preparation relative to the preparation of the letter to Congress. Op.

26-28. But it is not unusual, particularly in a matter being handled in expedited fashion, for a

recommendation memorandum to be prepared contemporaneously with the document that carries

out the decision. And such memoranda can retain their predecisional character even when they

are finalized after the decision in question. The purpose of the deliberative process privilege is to

protect “the ingredients of the decisionmaking process,” as distinct from “communications made

after the decision and designed to explain it.” Sears, 421 U.S. at 151-152. And a document

memorializing “the ingredients of the decisionmaking process” does not become post-decisional

simply because it is finalized once the process has concluded. See, e.g., Mead Data Central, Inc.

v. Dep’t of the Air Force, 566 F.2d 242, 257 (D.C. Cir. 1977) (“It would exalt form over substance

to exempt documents in which staff recommend certain action or offer their opinions on given

issues but require disclosure of documents which only ‘report’ what those recommendations and

opinions are.”); New York Times Co. v. Off. of Mgmt. & Budget, No. CV 19-3562 (ABJ), 2021 WL

1329025, at *6 (D.D.C. Mar. 29, 2021) (“Chronology is not the beginning and end of the inquiry

. . . ; the Court of Appeals [has] recognized that ‘documents dated after [the decision at issue] may

still be predecisional and deliberative with respect to other, nonfinal agency policies.’” (quoting

Judicial Watch, Inc. v. FDA, 449 F.3d 141 (D.C. Cir. 2006), and citing Mead Data Ctr., 566 F.2d

at 256)); CREW v. DOJ, 658 F. Supp. 2d 217, 234 (D.D.C. 2009) (“[T]he information withheld by

DOJ recounts the ‘ingredients of the decisionmaking process,’ and for that reason the information

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withheld qualifies as predecisional—despite the fact that the interview in which the information

was disclosed took place after the decisions were made.”); EPIC v. DHS, 2006 WL 6870435, at

*7-8 (D.D.C. Dec. 22, 2006) (similar).

       Here, as discussed above, the Colborn declarations establish that Document no. 15 reflected

and summarized advice given to the Attorney General before he decided what to write to Congress.

The Second Colborn Declaration explains the chronology:

       I stated in my prior declaration that “[f]ollowing receipt of the memorandum, the
       Attorney General announced his decision publicly in a letter to the House and
       Senate Judiciary Committees.” [citation omitted] I have recently been informed that
       prior to making his decision and sending the letter, the Attorney General had
       received the substance of the advice contained in Document No. 15 [that is, the
       Memorandum] and reviewed multiple drafts of that memorandum, but the
       memorandum in fact was put into the signed final form of Document No. 15, and
       its approval box initialed by the Attorney General, about two hours after the
       Attorney General sent the letter to the House and Senate Judiciary Committees. The
       substance of the advice contained in Document No. 15 did not change in any
       material way between the time when the Attorney General last received a draft of
       the memorandum and the time the Attorney General initialed the approval box on
       the signed final form of the memorandum.

2d Colborn Declaration ¶ 9.

       Nor would the predecisional character of a recommendation memorandum change even if

drafted to support an anticipated outcome. Often, for example, a decisionmaker may give a

preliminary indication of a planned course of action and ask for a memorandum supporting that

course of action. But the memorandum retains its predecisional character as long as the decision

could be informed by the memorandum. In such a circumstance, the memorandum imposes

additional discipline on the process, requiring a full written analysis of the reasons for and against

the action, and the decisionmaker retains the discretion to change the decision based on

considerations discovered during the process of writing or reviewing the memorandum. The

process is not dissimilar to that of a judge who reaches a preliminary conclusion about how to rule

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in a given case and tasks a law clerk to write an opinion supporting that conclusion. The law

clerk’s draft remains predecisional because the judge, after reading the analysis, can still be

persuaded or dissuaded by the analysis and reach a different conclusion.

       If anything, the fact that this memorandum was being drafted in parallel with the letter to

Congress—as opposed to after the fact—bolsters the view that it reflects “the ingredients of the

decisionmaking process,” as opposed to documenting a consummated decision. Regardless of

exactly when the memorandum was finalized, it was generated while the deliberative process was

ongoing, its substance was provided to the Attorney General prior to his making a decision, and

the memorandum was presented to the Attorney General (in near-final though not final form) at

the time that he was still making a final decision. For all of these reasons, the Court was incorrect

to conclude that Document no. 15 was not “pre”-decisional.

       C. The government’s declarations and briefs were accurate and submitted in good
          faith.

       As described above, Document no. 15 is privileged on its face. The Court nevertheless

concluded that inaccuracies in the descriptions of the document in the government’s declarations

and briefs vitiated application of the privilege. But the government’s declarations and briefs

accurately characterized the deliberative and predecisional nature of the document.

       The declarations and briefs first accurately described the decisional process underlying the

final conclusion. As the first part of the first sentence of the memorandum, which was unredacted

when the memorandum was originally released, and the now unredacted remaining material on

page 1 of Document no. 15 show, the decision on which the memorandum was advising the

Attorney General was whether the evidence in Volume II of the Special Counsel’s Report was

sufficient to establish that the President had committed obstruction of justice. See Ex. A at 1.

None of the three submitted declarations stated that the Attorney General was deciding whether to
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actually commence an indictment or prosecution of the President. The Declaration of Vanessa R.

Brinkmann explained that Document no. 15 “was provided to aid in the Attorney General’s

decision-making process as it relate[d] to the findings of the [Special Counsel’s Office (SCO)]

investigation, and specifically as it relate[d] to whether the evidence developed by SCO’s

investigation [was] sufficient to establish that the President committed an obstruction-of-justice

offense,” Brinkmann Decl. ¶ 11 (emphasis added)—not whether he should be indicted for such an

offense. The Brinkmann declaration went on to explain that that “legal question” was one that the

Mueller Report “did not resolve.” Id. at ¶ 11. The Mueller Report was not silent on the question

of whether the President should actually be prosecuted; the Special Counsel took that question to

be settled by longstanding DOJ precedent that “a sitting President may not be prosecuted.” Mueller

Report, Vol. II, at 1 (citing 24 Op. O.L.C. at 222, 257, 260). Rather, the question the report

pointedly “did not resolve” was the one Attorney General Barr answered: whether the facts found

by the Special Counsel were sufficient to establish that the President committed obstruction of

justice.

           The first Colborn Declaration likewise explained that Document no. 15 “was submitted to

the Attorney General to assist him in determining whether the facts set forth in Volume II of

Special Counsel Mueller’s report ‘would support initiating or declining the prosecution of the

President for obstruction of justice under the Principles of Federal Prosecution.’” Colborn Decl.

¶ 17. That description quotes from the unredacted portion of the opening sentence of the

memorandum and is accurate; it neither states nor necessarily implies that the authors were

advising the Attorney General on whether the President should actually be prosecuted. See also

Def.’s Mem. in Supp. of Mot. for Summ. J. (Def.’s Mem.) (ECF No. 15-2) 14 (quoting Colborn

Decl.).

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        The declarations and briefing did not state that Document no. 15 took as a given the

longstanding DOJ view that the Constitution bars the prosecution of a sitting President. See, e.g.,

Op. 19. But that view was widely known, and documented in the Special Counsel’s Report itself,

long before the declarations and briefs were filed. 3 See Mueller Report, Vol. II, at 1 (citing 24 Op.

O.L.C. at 222, 260). And the Attorney General’s letter to Congress—which was prepared and

issued on the same day that Document no. 15 was finalized, Op. 28—explicitly stated that the

determination whether the President had committed obstruction “was made without regard to, and

[was] not based on, the constitutional considerations that surround the indictment and criminal

prosecution of a sitting president.” See Letter from William P. Barr, Attorney General, to Hon.

Lindsey Graham, Chairman, Committee on the Judiciary, U.S. Senate, et al. (Mar. 24, 2019) at 3

(citing 24 Op. O.L.C. 222), available at https://www.justice.gov/archives/ag/page/file/1147981/download.

        The government now recognizes, however, that several statements in its briefing, read

without the foregoing context—and in light of the redactions from page 1 of the memorandum of

the references to the constitutional bar—were susceptible to an interpretation that the Attorney

General was considering whether a prosecution or indictment of the sitting President should

actually be commenced. See Def.’s Mem. 16 (“Finally, the March 2019 Memorandum contains

analysis about whether evidence supports initiating or declining a prosecution. Documents

containing deliberations about whether to pursue prosecution are generally protected by the

deliberative process privilege.” (citing cases)); Def.’s Opp’n to Pl.’s Cross-Mot. for Summ. J. &

Reply Mem. in Supp. of Def.’s Mot. for Summ. J. & Renewed Mot. to Dismiss (Def.’s Reply)


3
 Indeed, CREW’s request specifically sought documents “pertaining to the views OLC provided
Attorney General William Barr on whether the evidence developed by Special Counsel Robert
Mueller is sufficient to establish that the President committed an obstruction-of-justice offense,”
Colborn Decl., Ex. B (ECF No. 15-3 at PDF page 19)—a description precisely mirroring the
government’s description of Document no. 15.
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(ECF No. 19) 14 (“Plaintiff’s supposition that Document no. 15 ‘was not part of a deliberation

about whether or not to prosecute the President,’ Pl.’s Br. 16, cannot overcome the deference to

the agency’s affidavits.”); id. at 17 (“Plaintiff has only its misinterpretation of the DOJ special

counsel regulations and its own irrelevant speculation, unsupported by admissible evidence, that

‘the Attorney General was not seeking legal advice from OLC in order to make a prosecution

decision.’”).

       These passages could have been clearer, and the government regrets that they were not.

But they were not intended to convey that the decision to which Document no. 15 related was

whether to actually commence a prosecution of the President. The first statement, like each of the

government’s declarations—see, e.g., Colborn Decl. ¶ 17; Brinkmann Decl. ¶ 11; 2d Colborn Decl.

¶ 8—describes the relevant decision as “whether evidence supports initiating or declining a

prosecution.” While it is followed by a statement of the law concerning the applicability of the

deliberative process privilege to “[d]ocuments containing deliberations about whether to pursue

prosecution,” the statement did not say that this memorandum contained such deliberations; it was

intended to draw on case law concerning documents memorializing deliberations on whether to

actually commence a prosecution. Although the March 2019 memorandum was not advising on

whether to commence a prosecution, it involved an assessment that one could naturally call

“prosecutorial” in nature—namely, whether the conduct outlined in the Mueller Report would

satisfy the elements of the crime of obstruction and satisfy criteria in DOJ’s Principles of Federal

Prosecution. It was not unreasonable, therefore, to cite case law regarding the protection afforded

to traditional prosecution memos.

       The second and third sentences could have been worded differently to avoid confusion.

They were meant to respond to plaintiff’s central argument that the Special Counsel regulations

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somehow removed from the Attorney General the ability to make any relevant decision and to

make the point that the government’s declarations adequately demonstrated that there was, in fact,

a decision on which the Attorney General was receiving advice. The term “prosecution decision”

was a quote from plaintiff’s brief, and again, it is natural to describe advice about whether a set of

facts does or does not establish the elements of a criminal offense as “prosecutorial” in nature.

Notably, the Special Counsel’s Report characterized a decision “draw[ing] ultimate conclusions

about the President’s conduct” as “a traditional prosecutorial judgment.” Mueller Report, Vol. II,

at 182.

          We further recognize that the potential for confusion was exacerbated by the fact that it

was not publicly known at the time of the government’s filing that the March 2019 Memorandum

itself had discussed the constitutional bar. The government had released those portions of the

memorandum that corresponded to the conclusion to which the Attorney General affixed his

signature, which did not mention the constitutional bar, and redacted information not encompassed

by the Attorney General’s adoption of the recommendation by the OLC AAG and PADAG in the

conclusion of the memorandum. Brinkmann Decl. ¶ 12. The redactions were made in good faith,

and certainly not in an effort to conceal the publicly known proposition that the Department of

Justice would not consider indicting a sitting President. And the presence or absence of the

memorandum’s references to the constitutional bar does not affect the viability of the

government’s claim of privilege with regard to Section II of the memorandum, which was

accurately described in the government’s declarations as discussed above. With the benefit of

hindsight, the government regrets that its declarations and briefs did not state expressly what was

clear from the Special Counsel’s Report and the Attorney General’s letter to Congress—namely,

that commencing an actual prosecution of the President was not an option the Attorney General

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was considering. But the omission of that express statement was not meant to suggest—and the

declarations and briefs read in full and in context did not suggest—that the Attorney General was

considering an actual prosecution of the President.

       The government’s briefs and declarations also did not specifically state that, in addition to

addressing whether the evidence was sufficient to establish that the President committed

obstruction of justice, Document no. 15 also briefly addressed the antecedent question of whether

the Attorney General should make a determination on that point and communicate it publicly in

light of the anticipated public release of the Special Counsel’s Report. But the omission of any

specific reference to this antecedent question did not serve to mischaracterize the central decisional

process that the Attorney General was undertaking concerning the sufficiency of the evidence. It

is not unusual for a memorandum about an issue also to address the antecedent question whether

the decisionmaker should resolve the issue or the context in which the issue arises.             The

declarations provided support for the predecisional, deliberative nature of the memorandum as a

whole, emphasizing the decision that the Attorney General ultimately made rather than the various

predicates for making that determination.

       Similarly, the declarations and briefing were accurate with respect to the document’s

predecisional nature. Indeed, the Second Colborn Declaration explained in detail the sequencing

of the deliberations, making clear that the former Attorney General had received the advice in

advance of writing the letter to Congress, and signed the written recommendation memorializing

the predecisional advice approximately two hours after sending the letter. See 2d Colborn

Declaration ¶ 9. And Document no. 15 itself makes clear in the introduction on page 1 that the

issue of whether the evidence was sufficient to establish obstruction of justice had been under

consideration for some time in conversations among those in DOJ, including with the Special

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Counsel, his staff, and the Attorney General.

III.   THE BALANCE OF HARDSHIPS WEIGHS IN FAVOR OF A STAY.

       A stay pending appeal would not substantially harm plaintiff. It only “postpones the

moment of disclosure[,] assuming [plaintiff] prevails[,] by whatever period of time may be

required [] to hear and decide the appeal[].” Providence Journal, 595 F.2d at 890.              The

government’s decision not to appeal this Court’s decision insofar as it requires release of page 1

and Section I of Document no. 15, and the resulting release of those portions of the document, will

provide plaintiff and the public with an immediate, clear understanding of the nature and context

of the memorandum, and no immediate need exists for public access to the specific analysis

contained in Section II of the memorandum.

       Public policy also weighs in favor of a stay. DOJ fully acknowledges the importance of

the public interest served by adherence to FOIA. Nevertheless, Exemption 5 is intended to protect

the confidentiality of the government’s deliberative process. See Dep’t of Interior v. Klamath

Water Users Protective Ass’n, 532 U.S. 1, 8 (2001). That interest will be irrevocably compromised

if statutorily exempt material is ordered disclosed before the completion of appellate review. See

Brinkmann Decl. ¶ 13. Issuance of a stay, in contrast, will not harm the public interest. The most

the public stands to lose from the Court granting the instant stay request is a delay until the D.C.

Circuit resolves the issue of disclosure.

                                            CONCLUSION

       For the foregoing reasons, this Court should grant defendant’s motion for a stay pending

appeal as to Section II of Document no. 15. In addition, with the disclosure of page 1 and Section

I of the memorandum, the sealed portions of the Court’s opinion may be unsealed. In the event

that this Court denies a stay, it should not require that Section II of Document no. 15 be disclosed

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until the D.C. Circuit has the opportunity to rule on the stay motion that the government would

prepare and file.



Dated: May 24, 2021                                Respectfully submitted,

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